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 1                                UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4   ERIC CHRISTIAN,                                           Case No. 2:19-cv-00364-RFB-EJY
 5                  Plaintiff,
 6          v.                                                              ORDER
 7   CHRISTOPHER HOYE, et al,
 8                  Defendants.
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10          On November 6, 2020, Chambers of the undersigned Magistrate Judge received a call from
11   an Assistant United States Attorney stating that Plaintiff is now in custody and, therefore, would not
12   have received a Report and Recommendation issued by the Court on October 22, 2020. While this
13   information should ordinarily be filed on the docket through a notice or motion, and not
14   communicated through a phone call, the Court has confirmed that Plaintiff is in custody at the
15   Nevada Southern Detention Center. Despite the fact that it is Plaintiff’s obligation to update his
16   address with the Court, the Court finds it is appropriate to order Plaintiff be mailed the October 22,
17   2020 Report and Recommendation at his current address.
18          Accordingly, IT IS HEREBY ORDERED that the Clerk of Court shall update Plaintiff’s
19   address of record to:
20                  Eric Christian
                    Prisoner # 33884-037
21                  Nevada Southern Detention Center
                    2190 East Mesquite Avenue
22                  Pahrump, Nevada 89060
23          IT IS FURTHER ORDERED that the Clerk of Court shall mail the October 22, 2020 Report
24   and Recommendation (ECF No. 21) to Plaintiff at the address above.
25          IT IS FURTHER ORDERED that the time within which Plaintiff may file an objection to
26   the Report and Recommendation is extended to November 23, 2020.
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 1          IT IS FURTHER ORDERED that Plaintiff is admonished to keep his address updated with

 2   the Clerk of Court at all times.

 3          Dated this 6th day of November, 2020.

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 5                                             ELAYNA J. YOUCHAH
                                               UNITED STATES MAGISTRATE JUDGE
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